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                 Exhibit 2
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                     If you have the right to slander the Messenger of Allāh ‫ﷺ‬, we have
                   the right to defend him. If it is part of your freedom of speech to defame
                             Muĥammad ‫ ﷺ‬it is part of our religion to fight you.

                  I would like to express my thanks to my brothers at Inspire for inviting me to
                  write the main article for the first issue of their new magazine. I would also
                  like to commend them for having this subject, the defense of the Messen-
                  ger of Allāh ‫ﷺ‬, as the main focus of this issue.

                  This effort, the effort of defending the Messenger of Allāh ‫ﷺ‬, should
                  not be limited to a particular group of Muslims such as the mujāhidīn but
                  should be the effort of the ummah, the entire ummah. This is an issue that
                  should unite the efforts of the Muslims worldwide.

                  When I delivered a lecture in defense of the Messenger of Allāh ‫ ﷺ‬almost
                  two years ago, I anticipated that the cartoon controversies along with the
                  Muslim response to them were not going to be some isolated incidents that
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would just fade away. My prediction was that the West                  manufactured by some of the countries involved. All of
would continue escalating its attacks and would only                   these acts of good were a manifestation of the solidarity
entrench itself deeper into blasphemy. I expected this,                of Muslims in defense of the Messenger of Allāh ‫ﷺ‬. On
because the hatred the West holds towards Islām and the                the other hand, there were some completely misguided
Prophet of Islām ‫ ﷺ‬is a smoldering fire only waiting for               efforts such as those of some of the callers to Islām who
an opportunity, a chance, to vent itself through a “proper”            paid a visit to Denmark along with young Muslim boys
channel within the boundaries set by Western laws and                  and girls to start a dialogue in order to build bridges of
freedoms.                                                              understanding between the Muslims and the people of
                                                                       Denmark!
Outrageous slander, blatant smearing of Muĥammad
‫ﷺ‬, desecration of the Qur’ān, and the insulting of over a              It is not enough to have the intention of doing good. One
billion Muslims worldwide are done under the pretext of                must do good in the proper way. So what is the proper
“freedom of speech”. They are never called what they re-               solution to this growing campaign of defamation?
ally are: a deeply rooted historic hatred for Islām and Mus-
lims. Yesterday it was in the name of Christianity; today it           The medicine prescribed by the Messenger of Allāh ‫ ﷺ‬is
is in the name of Democracy.                                           the execution of those involved. A soul that is so debased,
                                                                       as to enjoy the ridicule of the Messenger of Allāh ‫ﷺ‬, the
Allāh says: (Hatred has already appeared from their mouths, and what   mercy to mankind; a soul that is so ungrateful towards
their breasts conceal is greater) [āl-`Imrān: 118].                    its Lord that it defames the Prophet of the religion Allāh
                                                                       ‫ ﷻ‬has chosen for his creation does not deserve life, does
For these reasons, for this combined effect of an escalat-             not deserve to breathe the air created by Allāh ‫ ﷻ‬and
ing problem, I gave my lecture the title, The dust will never          enjoy a life provided for by Allāh ‫ﷻ‬. Their proper abode is
settle down.                                                           Hellfire.

Today, two years later, the dust still hasn’t settled down. In         The Messenger of Allāh ‫ ﷺ‬called for the assassination
fact the dust cloud is only getting bigger.                            of Kā`b bin al-Ashraf and there are other incidents of his
                                                                       companions killing those who spoke against him. There
Whenever the affair calms down, someone somewhere in                   was a blacklist of names of people in Makkah that were
the Western world is sure to flare it up again. From 2005              to be killed even if found hanging on to the clothes of al
onwards the cycle of offense is unabated.                              Kā`ba, the holiest site in Islām. This list included, among
                                                                       others, women who sang poetry defaming Muĥammad
What the West is failing to realize is that these attacks are          ‫ﷺ‬. Even though Muĥammad ‫ ﷺ‬prohibited the killing
also serving as a mobilizing factor for the Muslims and are            of women who are non-combatants, these women were
bringing more and more Muslims to the realization that                 an exception because of their unprecedented transgres-
jihād against the West is the only realistic solution for this         sion.
problem along with a host of other problems that cannot
be cured without fighting in the path of Allāh.                        There were some Muslim voices giving their interpreta-
                                                                       tions as to why the US has not been involved in Europe’s
Muslims do love Muĥammad ‫ ﷺ‬and do want to defend                       expression of hate. For myself it was only a matter of time
his honor and their methods of doing so are varying.                   before the US joins in. Now America has entered into the
Muslims protested and demonstrated worldwide. They                     fray with full force. The 20th of May event overshadowed
burned flags and struck effigies. They boycotted products              all what preceded it. America was the one missing link in

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the chain. The chain is now full circle. The West has started     pants.
this war and it will turn colossal. The West is awakening a
sleeping giant.                                                   These perpetrators are not operating in a vacuum. In-
                                                                  stead they are operating within a system that is offering
We, by the will of Allāh will not back down from the de-          them support and protection. The government, politi-
fense of our beloved. We will fight for him, we will insti-       cal parties, the police, the intelligence services, blogs,
gate, we will bomb and we will assassinate, and may our           social networks, the media, and the list goes on, are part
mothers be bereaved of us if we do not rise in his defense.       of a system within which the defamation of Islām is not
It is the honor of the best of creation that is at stake and it   only protected but promoted. The main elements in
is not much to set the world on fire for his sake.                this system are the laws that make this blasphemy legal.
                                                                  Because they are practicing a “right” that is defended
To my Muslim brothers everywhere especially in the West:          by the law, they have the backing of the entire Western
When the Şaĥāba, may Allāh be pleased with them, came             political system. This would make the attacking of any
back from a successful assassination mission against              Western target legal from an Islāmic viewpoint. The entire
one of their enemies, the Prophet ‫ ﷺ‬met them on their             Western system is staunchly protecting and promoting
return with a beaming face and said: «May these faces             the defamation of Muĥammad ‫ ﷺ‬and therefore, it is the
be successful». Who among you will be of those who will           entire Western system that is at war with Islām. Assassina-
meet the Messenger of Allāh ‫ ﷺ‬on the Day of Judg-                 tions, bombings, and acts of arson are all legitimate forms
ment only to have him smile at you, pleased with your             of revenge against a system that relishes the sacrilege of
action, and hand you a drink from al-Kauthar because you          Islām in the name of freedom.
rushed to his defense?
                                       We will fight for him, we will instigate, Western freedoms of expression
This is a golden opportunity to        we will bomb and we will assassinate, guarantee the defamation of Islām
have the honor of performing an        and may our mothers be bereaved of but do not guarantee the right
act in the service of Islām greater    us if we do not rise in his defense.      to speak about issues such as the
than any form of jihād. Defending                                                        Holocaust. When the cultural edi-
the Messenger of Allāh ‫ ﷺ‬is a greater cause than fight-           tor at Jyllands-Posten who posted the Muĥammad ‫ﷺ‬
ing for Palestine, Afghanistan or Iraq; it is greater than        cartoons wanted to publish cartoons on the Holocaust,
fighting for the protection of Muslim life, honor or wealth.      he was placed on indefinite leave and the editor in chief
This is the pinnacle of all deeds and is waiting for the likes    of the newspaper said that Jyllands-Posten under no cir-
of Muĥammad bin Maslamah.                                         cumstances would publish the Holocaust cartoons.

A cartoonist out of Seattle, Washington, named                    Now, with the defamation of Muĥammad ‫ ﷺ‬reaching
       started the “Everybody Draw Mohammed Day”.                 the shores of America, I wonder whether the patriotic
This snowball rolled out from between her evil fingers.           American Muslim will still have the audacity to claim
She should be taken as a prime target of assassination            that he enjoys the right to be a Muslim in America? Does
along with others who participated in her campaign.               he understand that this right includes his duty to fight
This campaign is not a practice of freedom of speech,             against those who blaspheme his Prophet ‫?ﷺ‬
but is a nationwide mass movement of Americans join-
ing their European counterparts in going out of their way         We invite Muslims worldwide to stand up in defense of
to offend Muslims worldwide. They are expressing their            the Messenger of Allāh ‫ ﷺ‬and for their efforts to mani-
hatred of the Messenger of Islām ‫ ﷺ‬through ridicule.              fest in all appropriate means.

The large number of participants makes it easier for us           May Allāh make us of those who are honored with
because there are more targets to choose from in addi-            playing a part in the defense of the best of creation,
tion to the difficulty of the government offering all of          Muĥammad ‫ﷺ‬.
them special protection. But even then our campaign
should not be limited to only those who are active partici-

               You may contact Shaykh Anwar through any of the emails listed on the contact page
